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    7

    8                         UNITED STATES DISTRICT COURT
    9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
   10

   11                                               Case No. 18-cv-02174-JFW-GJS
        LIU LUWEI, an individual, and LV
   12   DEZHENG, an individual,
   13                 Petitioners,
                                                    NOTICE OF MOTION
   14         vs.
   15   PHYTO TECH CORP., a California
        corporation,
   16
                      Respondent.
   17

   18
              Petitioners, LIU LUWEI and LV DEZHENG (“Petitioners”), hereby submits
   19
        its Notice of Motion of the Motion for Leave to File Reply to Respondent PHYTO
   20
        TECH CORP’s Opposition to Petitioners’ Verified Petition for recognition,
   21
        confirmation and enforcement of the Arbitration Award by not more than 28 days
   22
        (L.R. 6.1).
   23
                                            Respectfully Submitted,
   24

   25   DATED: May 24, 2018                 LeClairRyan, LLP
   26
                                            By:     /s/ Christopher Waldon
   27                                               Christopher Waldon, Esq.
   28
                                                    Attorney for Petitioners
                                                    LIU LUWEI and LV DEZHENG
                                                1
        PETITIONERS’ NOTICE OF MOTION                           Case No. 18-cv-02174-JFW-GJS
